      Case 2:22-cv-00579-GJF-GBW Document 120 Filed 09/26/23 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

JORGE GOLDEN, individually and
on behalf of all others similarly situated,
and ANTHONY YBARRA,

        Plaintiffs,

v.                                                     Civ. No. 22-579 GJF/GBW

QUALITY LIFE SERVICES, LLC, et al.,

        Defendants.


      ORDER DENYING DEFENDANTS’ MOTION FOR RECONSIDERATION

        THIS MATTER is before the Court upon Defendants’ Motion for Reconsideration

(“Motion”). See doc. 115. Defendants request that the Court reconsider its decision in

the September 14, 2023, Order Denying Defendants’ Motion for Protective Order. This

Order denied Defendants’ request to recuse Frances Angel from depositions based on

Ms. Angel’s medical condition because without sufficient information about Ms.

Angel’s condition, the Court could not find that the condition justified the extraordinary

step of completely prohibiting her deposition. See doc. 110 at 2. For their Motion,

Defendants presented additional information about Ms. Angel’s medical condition to

the Court via electronic communication, but they did not make this information

available to Plaintiffs. The Court cannot consider ex parte communications when ruling

on Defendants’ Motion.
     Case 2:22-cv-00579-GJF-GBW Document 120 Filed 09/26/23 Page 2 of 2




      IT IS THEREFORE ORDERED that Defendants’ Motion for Reconsideration is

DENIED without prejudice. If Defendants wish for the Court to consider the additional

medical information, they may refile their motion for reconsideration under seal (case

participants only) with the documentation about Ms. Angel’s medical condition

attached.




                                  _______________________________________________
                                  GREGORY B. WORMUTH
                                  CHIEF UNITED STATES MAGISTRATE JUDGE




                                            2
